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OF TEXAS


										




NO. WR-57,156-02






EX PARTE GUY STEPHEN ALEXANDER








ON APPLICATION FOR WRIT OF HABEAS CORPUS IN CAUSE


NO. 532255-C IN THE 338TH JUDICIAL DISTRICT COURT


HARRIS COUNTY






	Per Curiam.  


O R D E R



	This is a subsequent application for a writ of habeas corpus filed pursuant Texas Code
of Criminal Procedure, Article 11.071, Section 5. 

	In August 1989, a jury convicted applicant of the offense of capital murder.  The jury
answered the special issues submitted pursuant to Texas Code of Criminal Procedure Article
37.071, and the trial court, accordingly, set punishment at death.  This Court affirmed
applicant's conviction and sentence on direct appeal.  Alexander v. State, No. 70,941 (Tex.
Crim. App., April 14, 1993).  On January 16, 2001, applicant filed his initial application for a
writ of habeas corpus pursuant to Article 11.071.  We denied relief.  Ex parte Alexander, No.
WR-57,156-01 (Tex. Crim. App., Nov. 5, 2003).

	In a single allegation in this subsequent application, applicant asserts that he is entitled
to relief from his death sentence because he presented significant mitigating evidence related
to his moral culpability and the appropriateness of a death sentence that could not have been
given full effect by the sentencing jury.  See Penry v. Johnson, 532 U.S. 782 (2001).  We
have reviewed the application and find that the allegation satisfies the requirements of Article
11.071 § 5.  Accordingly, we remand the application to the trial court for consideration of
Applicant's claim.

	IT IS SO ORDERED THIS THE 16TH DAY OF JUNE, 2010.


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